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                             UNITED STATES DISTRICT COURT

                                        FOR THE

                              DISTRICT OF MASSACHUSETTS

MICHELLE KOSILEK,

       Plaintiff,

v.                                                 Civil Action No. 00-12455-MLW

KATHLEEN M. DENNEHY,
DEPARTMENT OF CORRECTION, et. al.

       Defendants.



                     DEFENDANTS’NOTICE OF APPEARANCE


       Pursuant to Fed. R. Civ. P. 5(a), please enter our appearance as counsel for the

defendants KATHLEEN DENNEHY, the MASSACHUSETTS DEPARTMENT OF

CORRECTION, et. al. in the above-entitled civil action.

       Thank you.

                                           Respectfully submitted,
                                           NANCY ANKERS WHITE

                                           Special Assistant Attorney General


Dated: December 21, 2005                    /s/ Joan T. Kennedy
                                           Joan T. Kennedy, Counsel
                                           BBO#554935
                                           Legal Division
                                           Department of Correction
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                                           Boston, MA 02110-1300
                                           Tel. (617) 727-3300, Ext. 160
    Case 1:00-cv-12455-MLW Document 166 Filed 12/21/05 Page 2 of 2




                           CERTIFICATE OF SERVICE

       I, Joan T. Kennedy, counsel for the defendants, Kathleen Dennehy, the Mass.
Department of Correction, et. al., hereby certify that on this day I served copies of the
foregoing document on all counsel of record by electronic filing of same with the Court.


Dated: December 21, 2005                /s/ Joan T. Kennedy
                                            Joan T. Kennedy




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